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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X




                                                ..........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                           15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                        Declaration Of Laura A. Menninger In Support Of
     Defendant’s Submission Regarding “Search Terms” And Notice Of Compliance With
            Court Order Concerning Forensic Examination Of Computer Devices

        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of

Reply to Plaintiff’s Opposition to Defendant’s Motion To Reopen Plaintiff’s Deposition.

        2.       Attached as Exhibit A (filed under seal) is a true and correct copy of

correspondence from Meredith Schultz to me dated June 30, 2016.

        3.       Attached as Exhibit B (filed under seal) is a true and correct copy of

correspondence from me to Meredith Schultz dated July 14, 2016.

        4.       Attached as Exhibit C (filed under seal) is a true and correct copy of

correspondence from me to Meredith Schultz dated July 18, 2016.
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       Case 1:15-cv-07433-LAP Document 1202-3 Filed 01/27/21 Page 3 of 4




or other document transmissions or photography. Those devices did not contain any responsive

documents.

Dated: August 1, 2016

                                              By: /s/ Laura A. Menninger
                                              Laura A. Menninger




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                               CERTIFICATE OF SERVICE

        I certify that on August 1, 2016, I electronically served this Declaration Of Laura A.
MenningerIn Support Of Defendant’s Submission Regarding “Search Terms” And Notice Of
ComplianceWith Court Order Concerning Forensic Examination Of Computer Devices via ECF
on the following:

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                                                /s/ Nicole Simmons
                                                Nicole Simmons




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